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 6

 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                                      EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00176 TLN

11                                  Plaintiff,           ORDER SEALING DOCUMENTS AS SET FORTH
                                                         IN GOVERNMENT’S NOTICE
12                           v.

13   THONGCHONE VONGDENG,

14                                 Defendant.

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16
             Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
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     Request to Seal, IT IS HEREBY ORDERED that the government’s four-page sentencing letter
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     pertaining to defendant Thongchone Vongdeng, and Government’s Request to Seal shall be SEALED
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     until further order of this Court.
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             It is further ordered that access to the sealed documents shall be limited to the government and
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     counsel for the defendant.
22
             The Court has considered the factors set forth in Oregonian Publ’g Co. v. United States Dist.
23
     Court, 920 F.2d 1462 (9th Cir. 1990), and In re Copley Press, Inc., 518 F.3d 1022, 1028 (9th Cir. 2008).
24
     The Court finds that, for the reasons stated in the Government’s request, sealing the Government’s four-
25
     page sentencing letter serves a compelling interest. The Court further finds that, in the absence of
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     closure, the compelling interests identified by the Government would be harmed. The Court further
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     finds that there are no additional alternatives to sealing the Government’s four-page sentencing letter
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       ORDER SEALING DOCUMENTS AS SET FORTH IN            1
30     GOVERNMENT’S NOTICE
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 1 that would adequately protect the compelling interests identified by the Government.

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     Dated: August 6, 2018
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 6                                          Troy L. Nunley
                                            United States District Judge
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      ORDER SEALING DOCUMENTS AS SET FORTH IN         2
30    GOVERNMENT’S NOTICE
